   Nicholas J. Henderson, OSB #074027
   nhenderson@portlaw.com
   Motschenbacher & Blattner LLP
   117 SW Taylor St., Suite 300
   Portland, OR 97204
   Telephone: (503) 417-0500
   Facsimile: (503) 417-0521

               Of Attorneys for Debtor Edward A. Ariniello, Jr.


                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON


    In re:                                                  Case No. 21-31142-dwh11

    EDWARD A. ARINIELLO, JR.,                               DEBTOR’S FIRST AMENDED PLAN OF
                                                            REORGANIZATION DATED
                              Debtor.                       FEBRUARY 18, 2022



   You are encouraged to carefully review the full text of this document, including all exhibits and
   attachments, before deciding how to vote on the Plan. To assist you in your review, please note that a list
   of definitions and a section of frequently asked questions appear at the end of this document.

   IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE PLAN, YOU MAY
   OBJECT TO CONFIRMATION OF THE PLAN. IF YOU WISH TO OBJECT TO
   CONFIRMATION OF THE PLAN, YOU MUST DO SO BY THE DEADLINE SET FORTH IN
   THE NOTICE OF CONFIRMATION HEARING.

   YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE RETURNED
   BY THE DATE PROVIDED IN THE COURT’S ORDER FIXING TIME FOR FILING
   ACCEPTANCES OR REJECTION OF THE PLAN; AND NOTICE OF CONFIRMATION
   HEARING. THE BALLOT MUST BE MAILED TO MOTSCHENBACHER & BLATTNER
   LLP, ATTN: NICHOLAS J. HENDERSON, 117 SW TAYLOR STREET, SUITE 300,
   PORTLAND, OR 97204.

   Your rights may be affected by this Plan. You should consider discussing this document with an
   attorney.

   Questions regarding this Plan may be directed to the attorneys for the Debtor-In-Possession, using the
   contact information provided above.


Page 1 of 10          DEBTOR’S FIRST AMENDED PLAN OF                                  Motschenbacher & Blattner LLP
                                                                                      117 SW Taylor Street, Suite 300
{00501722:6}          REORGANIZATION (DATED FEBRUARY 18, 2022)                            Portland, Oregon 97204
                                                                                           Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com


                                Case 21-31142-dwh11         Doc 95   Filed 02/18/22
   Edward A. Ariniello, Jr. (the “Debtor” or “Plan Proponent”) hereby submits this Plan of Reorganization
   dated February 18, 2022 (the “Plan”).

   Background for Cases Filed Under Subchapter V.

       A. Description and History of the Debtor's Business

   The Debtor is an individual residing in Clackamas County, Oregon. Debtor owns 68.4% of the
   outstanding membership interest of U.S. Outdoor Holding LLC (“USOH”), an Oregon manager-
   managed limited liability company headquartered in Multnomah County, Oregon. USOH operates U.S.
   Outdoor Store (the “Store”) as a retail establishment for outdoor sports and activities such as camping,
   hiking, skiing, snowboarding and more. Debtor is USOH’s manager and the primary operator at the
   Store.

   Debtor purchased the Store in 2017, and organized USOH that same year. Under Debtor’s management,
   the Store was relocated to Northwest Portland, after having been located on Broadway Street in
   downtown Portland since 1986. USOH is a debtor in its own Chapter 11 Subchapter V case, U.S.
   Bankruptcy Court (D. Oregon) Case No. 20-32571-dwh11 (the “USOH Case”). USOH’s Plan of
   Reorganization was confirmed in the USOH Case on January 27, 2021. See ECF No. 131; Case No. 20-
   32571-dwh11.

       B. Liquidation Analysis

   To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept
   the Plan will receive at least as much under the Plan as such claim and equity interest holders would
   receive in a chapter 7 liquidation. A liquidation analysis is attached to the Plan as Exhibit 1.

       C. Ability to make future plan payments and operate without further reorganization

   The Debtor must also show that it will have enough cash over the life of the Plan to make the required
   Plan payments and operate the Debtor’s business.

   The Plan Proponent has provided projected financial information as Exhibit 2.

   The Plan Proponent’s financial projections show that the Debtor will have projected disposable income
   (as defined by § 1191(d) of the Bankruptcy Code) for the period described in § 1191(c)(2) of
   $35,147.96.

   The final Plan payment is expected to be paid on the 60th month following confirmation of the Plan,
   which is anticipated to be March, 2027.

   The Plan Proponent’s financial projections are based on the Debtor’s current income and expenses,
   which were used to calculate the Debtor’s current disposable income. The Debtor projects that his



Page 2 of 10     DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                    117 SW Taylor Street, Suite 300
{00501722:6}     REORGANIZATION (DATED FEBRUARY 18, 2022)                               Portland, Oregon 97204
                                                                                         Phone: 503-417-0500
                                                                                          Fax: 503-417-0501
                                                                                          www.portlaw.com


                            Case 21-31142-dwh11         Doc 95     Filed 02/18/22
   business will continue to improve, and that he will be able to modestly increase his personal income
   from the business as a result.

   You should consult with your accountant or other financial advisor if you have any questions pertaining
   to these projections.

       I. ARTICLE 1: SUMMARY

           This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptcy Code (the Code)
   proposes to pay creditors of the Debtor from ownership and operation of, and employment by, USOH,
   and through contribution of his share of household tax refunds received during the three years following
   the Effective Date of the Plan.

               This Plan provides for:        0 class of priority claims;
                                              0 classes of secured claims;
                                              2 classes of non-priority unsecured claims; and
                                              1 classes of equity security holders.

   Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent
   of this Plan has valued at approximately $0.05 cents on the dollar. This Plan also provides for the
   payment of administrative and priority claims.

   All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information
   regarding the precise treatment of their claim. A disclosure statement that provides more detailed
   information regarding this Plan and the rights of creditors and equity security holders has been
   circulated with this Plan.

       II.           ARTICLE 2: CLASSIFICATION OF CLAIMS AND INTERESTS

               2.1     Class 1. The non-priority unsecured claim of National Funding.

               2.2     Class 2. All non-priority unsecured claims allowed under § 502 of the Code.

               2.3     Class 3. The interests of the individual Debtor in property of the estate.


       III.          ARTICLE 3: TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                     PRIORITY TAX CLAIMS, AND QUARTERLY AND COURT FEES

           3.1     Unclassified claims. Under section § 1123(a)(1), administrative expense claims, and
   priority tax claims are not in classes.

          3.2     Administrative expense claims. Holders of administrative expense claims allowed under
   § 503 of the Code will be paid in full over time, from the Debtor’s Plan payments to the Subchapter V
   Trustee. Allowed administrative expense claims shall be paid pro-rata from the funds available on hand


Page 3 of 10           DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                          117 SW Taylor Street, Suite 300
{00501722:6}           REORGANIZATION (DATED FEBRUARY 18, 2022)                               Portland, Oregon 97204
                                                                                               Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                                                                                                www.portlaw.com


                                 Case 21-31142-dwh11          Doc 95     Filed 02/18/22
   with the Subchapter V Trustee. The following table shows an estimate of the administrative claims on
   the Effective Date (subject to allowance under 11 U.S.C. § 330):

    Claimant:                           Estimated Claim Amount:              Notes:
    Motschenbacher & Blattner           $28,000                              Debtor’s counsel has agreed to
    LLP (Debtor’s Counsel)                                                   accept payments over time, as
                                                                             provided herein.

    Subchapter V Trustee                $7,500                               Amy Mitchell, Subchapter V
                                                                             Trustee, has agreed to accept
                                                                             payments over time, as provided
                                                                             herein.

    TOTAL:                              $35,500

           3.3     Priority tax claims. Each holder of a priority tax claim will be paid in full over a period
   not later than the order for relief. The claim of the Internal Revenue Service is being paid in full
   pursuant to the terms of the USOH Plan. No payments shall be made by the Debtor under this Plan to
   the Internal Revenue Service. In the event of a default under the USOH Plan, the Debtor shall amend
   this Plan to provide for payment to the IRS. Such provision will reduce the amount of payments to be
   made to non-priority unsecured creditors.

           3.4    Statutory fees. All fees required to be paid under 28 U.S.C. § 1930 that are owed on or
   before the Effective Date of this Plan have been paid or will be paid on the Effective Date.

          3.5     Prospective quarterly fees All quarterly fees required to be paid under 28 U.S.C. §
   1930(a)(6) or (a)(7) will accrue and be timely paid until the case is closed, dismissed, or converted to
   another chapter of the Code

       IV.     ARTICLE 4: TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN.

   Claims and interests shall be treated as follows under this Plan:

    Class                       Treatment

    Class 1 – The non-          Class 1 is impaired. The Class 1 Claim of National Funding is being
    priority unsecured claim    paid in full under the terms of the USOH Plan. The Debtor shall not
    of National Funding,        make any payments to the Class 1 creditor unless National Funding,
    Inc.                        Inc. is not paid in full by USOH. In the event that USOH fails to pay
                                National Funding, Inc. under the terms of its plan, the Class 1 claim
                                shall receive payments under this Plan in the same manner as the
                                Class 2 Claimants.




Page 4 of 10      DEBTOR’S FIRST AMENDED PLAN OF                                        Motschenbacher & Blattner LLP
                                                                                        117 SW Taylor Street, Suite 300
{00501722:6}      REORGANIZATION (DATED FEBRUARY 18, 2022)                                  Portland, Oregon 97204
                                                                                             Phone: 503-417-0500
                                                                                              Fax: 503-417-0501
                                                                                              www.portlaw.com


                             Case 21-31142-dwh11          Doc 95       Filed 02/18/22
    Class 2 – All non-          Class 2 is impaired. The Class 2 claims will be paid approximately
    priority unsecured          1.00% of their claims. This percentage will vary depending on the
    creditors not otherwise     amounts of allowed priority (including costs of administration of the
    classified under the        Estate and the Debtor’s attorney fees), and allowed non-priority
    Plan.                       unsecured claims. Unsecured claims shall be paid pro-rata on a
                                quarterly basis, after payment of administrative claims. The dividend
                                shall consist of each creditor’s pro-rata share of the portion of the
                                Debtor’s Quarterly Payment (defined in Article 7 below) and tax
                                refunds that remain after payment of administrative claims.

    Class 3 – Debtor’s          Class 3 is unimpaired. Class 3 is the Debtor, who shall retain his
    Interest in Property of     interest in property of the estate.
    the Estate


       V.      ARTICLE 5: ALLOWANCE AND DISALLOWANCE OF CLAIMS

           5.1   Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a
   final non-appealable order, and as to which either:

                  (i) a proof of claim has been filed or deemed filed, and the Debtor or another party in
                  interest has filed an objection; or

                  (ii) no proof of claim has been filed, and the Debtor has scheduled such claim as
                  disputed, contingent, or unliquidated.

          5.2     Delay of distribution on a disputed claim. No distribution will be made on account of a
   disputed claim unless such claim is allowed by a final non-appealable order.

          5.3    Settlement of disputed claims. The Debtor will have the power and authority to settle and
   compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal Rules
   of Bankruptcy Procedure.

         5.4    Allowance of Certain Claims. Upon confirmation of this Plan, the claim of Solomon
   Management, Inc. (Claim No. 4-1) and the claim of Robert D. Solomon, in his capacity as Trustee of the
   Mervin Solomon GST Trust UW 9-29-2008 (Claim No. 5-1) shall be deemed allowed.

       VI.     ARTICLE 6: PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES

          Except for executory contracts and unexpired leases that have been assumed, and if applicable
   assigned, before the Effective Date or under this Plan, or that are the subject of a pending motion to
   assume, and if applicable assign, the Debtor will be conclusively deemed to have rejected all executory
   contracts and unexpired leases as of the Effective Date.



Page 5 of 10      DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                     117 SW Taylor Street, Suite 300
{00501722:6}      REORGANIZATION (DATED FEBRUARY 18, 2022)                               Portland, Oregon 97204
                                                                                          Phone: 503-417-0500
                                                                                           Fax: 503-417-0501
                                                                                           www.portlaw.com


                              Case 21-31142-dwh11        Doc 95     Filed 02/18/22
           A proof of a claim arising from the rejection of an executory contract or unexpired lease under
   this section must be filed no later than 30 days after the date of the order confirming this Plan.

       VII.          ARTICLE 7: IMPLEMENTATION OF THE PLAN

           7.1     General Plan Funding. Debtor intends to implement the Plan by continuing his
   ownership and operation of, and employment by, USOH, and through contribution of his share of
   household tax refunds received during the three years following the Effective Date of the Plan. The net
   disposable income to be generated through Debtor’s continued operation of USOH is shown in the
   attached Exhibit 2. Debtor shall make all plan payments described in Sections 7.2 and 7.3 to the
   Subchapter V Trustee, who shall be responsible for making distributions to holders of allowed claims.
   Debtor shall continue making plan payments until the Debtor has paid a total of $35,147.96, exclusive of
   (1) tax refunds contributed to the Plan, as described in Section 7.3 below and (2) any amounts recovered
   from avoidance claims, as discussed in Section 7.4 below. The Debtor shall be entitled to prepay any
   amount due under the Plan. Any extra payments made by the Debtor shall reduce the length of the Plan,
   but shall not reduce the amount of the next regularly scheduled payment, unless an extra payment pays
   the Plan in full, at which time all plan payments shall cease.

           7.2   Quarterly Plan Payments. Beginning June 1, 2022, and following on the first business
   day of each quarter thereafter, the Debtor shall make the following plan payments (the “Quarterly
   Payments”):
           • $780.00 per quarter during the first year following the Effective Date of the Plan;
           • $1,200 per quarter during the second year following the Effective Date of the Plan;
           • $1,650 per quarter during the third year following the Effective Date of the Plan.
           • $2,500 per quarter during the fourth and fifth years following the Effective Date of the Plan.

               7.3     Tax Refunds.

                   (a) During the three-year period following the Effective Date, the Debtor shall contribute
   to the Plan his share of the household tax refunds, if any, for tax years 2021, 2022, and 2023. The
   Debtor shall file his tax returns by the applicable deadlines, unless extended as permitted by law.

                 (b) To calculate the “Debtor’s share of household tax refunds,” the amount of the
   Debtor’s tax withholding for a tax year shall be divided by the total amount of household tax
   withholding for that year. The resulting percentage shall be multiplied by the amount of the household
   tax refund. The resulting product shall be the amount the Debtor is required to contribute to the Plan.

           7.4     Avoidance Actions. Any funds recovered from actions arising under Chapter 5 of the
   Bankruptcy Code shall be used to make additional payments to Creditors under the Plan. Debtor has not
   yet completed his investigation with regard to prepetition transactions. Debtor anticipates completing
   his investigation by May 31, 2022, and, except as set forth below, retains all rights to pursue any actions
   arising under chapter 5 of the Code after the Effective Date.

                 7.4.1 Delegation of Specific Avoidance Actions. Amy Mitchell, Subchapter V Trustee
   or any successor trustee appointed in the Bankruptcy Case (the “Bankruptcy Trustee”), shall have the


Page 6 of 10           DEBTOR’S FIRST AMENDED PLAN OF                                Motschenbacher & Blattner LLP
                                                                                     117 SW Taylor Street, Suite 300
{00501722:6}           REORGANIZATION (DATED FEBRUARY 18, 2022)                          Portland, Oregon 97204
                                                                                          Phone: 503-417-0500
                                                                                           Fax: 503-417-0501
                                                                                           www.portlaw.com


                                Case 21-31142-dwh11      Doc 95     Filed 02/18/22
   authority, on behalf and as representative of the Debtor’s bankruptcy estate to investigate, evaluate,
   pursue and/or settle avoidance and recovery actions relating to (1) the transfer recorded on November
   17, 2020 (the “Second Transfer”), of Debtor’s legal interest in the real property located at 29455 SW
   Heater Rd., Sherwood OR 97140 (the “Debtor’s Residence”), and (2) the deed of trust recorded against
   Debtor’s Residence on November 23, 2020, to secure a debt in the amount of $510,400 (the “New
   Mortgage”). The Bankruptcy Trustee may pursue such claims against Carrie Ariniello, the Debtor’s
   spouse, or Finance of America Mortgage LLC (“FAMLLC”), under the applicable provisions of Chapter
   5 of the Bankruptcy Code and Oregon’s Uniform Fraudulent Transfer Act, ORS 95.200 to 95.310.

                   7.4.2. Limitation on Delegated Actions. The Bankruptcy Trustee’s authority to pursue
   any avoidance claim shall be limited to: (i) avoiding the Second Transfer and the lien granted to
   FAMLLC in relation to the New Mortgage (the “Potential Avoidance Actions”), and (ii) subject to the
   limitation in 11 U.S.C. § 550(d), recovering the difference—if any—between (a) the value of the
   Debtor’s equity in the Residence if the Second Transfer and/or the New Mortgage are avoided and (b)
   $133,000.

                   7.4.3 Timing. Prior to filing any avoidance action related to the Second Transfer or the
   New Mortgage, the Bankruptcy Trustee shall file a report (the “Report”) with her findings, her proposed
   course of action, and the estimated amount of recovery. If the Bankruptcy Trustee determines that
   additional recovery is unlikely, the Bankruptcy Trustee shall indicate that in the Report. The Report
   shall be filed no later than 180 days of the Effective Date.

                   7.4.4 Pre-Filing Resolution. If the Report indicates that the Bankruptcy Trustee
   believes that additional amounts are likely to be recovered through an avoidance and recovery action,
   after accounting for the limitations set forth in Section 7.4.2 above, the Debtor may resolve the matter
   and obviate the filing of an avoidance action by the Bankruptcy Trustee by amending the Modified Plan
   to pay to creditors the estimated recovery described in the Report (the “Pre-Avoidance Amended
   Plan”). To elect this pre-filing resolution, Debtor must (i) file the Pre-Avoidance Amended Plan within
   30 days of the date the Report is filed and (ii) obtain confirmation of the Pre-Avoidance Amended Plan
   within 90 days of the date the Report is filed. If the Pre-Avoidance Amended Plan is both timely filed
   and confirmed as provided in this paragraph, upon confirmation of the Pre-Avoidance Amended Plan
   the delegation to the Bankruptcy Trustee shall be deemed terminated. If the Pre-Avoidance Amended
   Plan is not timely filed or timely confirmed, following the earlier of such date, the Bankruptcy Trustee
   shall commence on behalf of the Debtor’s bankruptcy estate any Potential Avoidance Actions
   recommended in the Report. Any fees and costs of the Bankruptcy Trustee’s and the Bankruptcy
   Trustee’s counsel in connection with the Report and with any avoidance actions shall be paid as an
   administrative expense.

                   7.4.5 Post-Filing Resolution. In the event the Bankruptcy Trustee avoids the Second
   Transfer and/or the New Mortgage lien to FAMLLC, Debtor shall pay to creditors under the value of
   any transfers avoided by the Bankruptcy Trustee that is not already accounted for in the liquidation
   analysis of this Plan. An amended plan providing for such increased payment (the “Post-Avoidance
   Amended Plan”) must (i) be filed by the Debtor within 60 days of avoidance by the Bankruptcy Trustee
   and (ii) confirmed by the Bankruptcy Court within 120 days of avoidance. If the Post-Avoidance



Page 7 of 10     DEBTOR’S FIRST AMENDED PLAN OF                                    Motschenbacher & Blattner LLP
                                                                                   117 SW Taylor Street, Suite 300
{00501722:6}     REORGANIZATION (DATED FEBRUARY 18, 2022)                              Portland, Oregon 97204
                                                                                        Phone: 503-417-0500
                                                                                         Fax: 503-417-0501
                                                                                         www.portlaw.com


                            Case 21-31142-dwh11         Doc 95    Filed 02/18/22
   Amended Plan is not timely filed or confirmed within such time frame, on request of a party in interest,
   this case shall be converted to a case under chapter 7 of the Bankruptcy Code.

       VIII. ARTICLE 8: GENERAL PROVISIONS

          8.1     Definitions and rules of construction. The definitions and rules of construction set forth
   in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are used in this
   Plan.

           8.2     Effective Date. The Effective Date of this Plan is the first business day following the
   date that is 14 days after the entry of the confirmation order. If, however, a stay of the confirmation
   order is in effect on that date, the Effective Date will be the first business day after the date on which the
   stay expires or is otherwise terminated.

           8.3   Severability. If any provision in this Plan is determined to be unenforceable, the
   determination will in no way limit or affect the enforceability and operative effect of any other provision
   of this Plan.

           8.4    Binding Effect. The rights and obligations of any entity named or referred to in this Plan
   will be binding upon, and will inure to the benefit of the successors or assigns of such entity.

           8.5     Captions. The headings contained in this Plan are for convenience of reference only and
   do not affect the meaning or interpretation of this Plan.

           8.6    Controlling Effect. Unless a rule of law or procedure is supplied by federal law
   (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Oregon
   govern this Plan and any agreements, documents, and instruments executed in connection with this Plan,
   except as otherwise provided in this Plan.

           8.7     Notices. Unless otherwise agreed to between a creditor and the Debtor or otherwise
   stated in the Plan, all notices required or permitted to be made in accordance with the Plan shall be in
   writing and shall be delivered personally or by regular or certified mail, return receipt requested. Notice
   to a holder of an allowed claim shall be directed to the address set forth within its Proof of Claim filed
   with the Court, or if none, to its address set forth in the schedules prepared and filed with the Court, as
   amended. Notices to the Debtor shall be directed the following:

                          Debtor:                 Edward A. Ariniello, Jr.
                                                  29455 SW Heater Rd.
                                                  Sherwood OR 97140

                          Debtor’s Attorney:      Nicholas J. Henderson
                                                  Motschenbacher & Blattner, LLP
                                                  117 SW Taylor Street, Suite 300
                                                  Portland, OR 97204
                                                  Fax: (503) 417-0501


Page 8 of 10      DEBTOR’S FIRST AMENDED PLAN OF                                       Motschenbacher & Blattner LLP
                                                                                       117 SW Taylor Street, Suite 300
{00501722:6}      REORGANIZATION (DATED FEBRUARY 18, 2022)                                 Portland, Oregon 97204
                                                                                            Phone: 503-417-0500
                                                                                             Fax: 503-417-0501
                                                                                             www.portlaw.com


                             Case 21-31142-dwh11           Doc 95     Filed 02/18/22
   Notices shall be deemed given upon delivery, if personally delivered, and upon mailing, if mailed. Any
   person may change the address at which such person is to receive notices under the Plan by sending
   written notice, pursuant to the provisions of this section, to the Debtor and any other person to be
   charged with knowledge of such change.

       IX.            ARTICLE 9: DISCHARGE

   Notwithstanding § 1192, the Debtor shall not receive a discharge in this case until the Debtor has
   completed all payments required by the Plan and the court grants a discharge upon completion of all
   payments due hereunder. Further, the Debtor will not be discharged from any debt:

               (i)      imposed by this Plan;

               (i)      on which the last payment is due after the first 5 years of the plan, or as otherwise
                        provided in § 1192; or

               (ii)     excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c)
                        of the Federal Rules of Bankruptcy Procedure.

       X.             ARTICLE 10: DEFAULT.

          Except as otherwise specifically provided in the Plan, in the event Debtor shall default in the
   performance of any of her obligations under the Plan, then a claimant may pursue such remedies as are
   available at law or in equity. An event of default occurring with respect to one Claim shall not be an
   event of default with respect to any other Claim.

           Nothing contained in the Plan shall limit the right of any party to reopen this case or to convert
   this case to a liquidation case under Chapter 7 of the Bankruptcy Code if cause for such relief exists.

           Debtor shall be entitled to written notice of any claimed default under the Plan, and shall have
   twenty (20) days opportunity to cure. If such claimed default is cured within the twenty (20) days cure
   period, then such Creditor shall not be entitled to enforce any remedies which would otherwise be
   available on account of such default. If Debtor fails to cure within the twenty (20) days cure period, then
   such Creditor may seek such remedies as are granted by law to enforce its rights arising under and
   pursuant to the Plan, including seeking an order to compel such performance. The default and cure
   provisions contained in the Plan shall supersede any provisions concerning default and cure contained in
   any other agreement between Debtor and any Creditor affected by the Plan. Notice of default shall be
   effective when mailed to both the Debtor and to the Debtor’s attorney, postage prepaid, at the address
   provided on the docket of the bankruptcy case.

       XI.            ARTICLE 11.: RETENTION OF JURISDICTION.

           Notwithstanding the entry of the order confirming the Plan, the Court shall retain jurisdiction of
   this Chapter 11 case pursuant to and for the purposes set forth in 11 U.S.C. §1127(b) and (a) to classify
   the Claim of any Creditor, reexamine Claims which have been allowed for voting purposes and

Page 9 of 10            DEBTOR’S FIRST AMENDED PLAN OF                                     Motschenbacher & Blattner LLP
                                                                                           117 SW Taylor Street, Suite 300
{00501722:6}            REORGANIZATION (DATED FEBRUARY 18, 2022)                               Portland, Oregon 97204
                                                                                                Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com


                                  Case 21-31142-dwh11          Doc 95     Filed 02/18/22
   determine any objection that may be filed to Claims; (b) to determine requests for payment of Claims
   entitled to priority under § 507(a)(2) of the Code, including compensation and reimbursement of
   expenses in favor of professionals employed at the expense of the estate; (c) to avoid transfers or
   obligations and to subordinate Claims under Chapter 5 of the Bankruptcy Code; (d) to approve the
   assumption, assignment of rejection of executory contracts and unexpired leases pursuant to 11 U.S.C.
   §§ 365 and 1123; (e) to resolve all controversies and disputes regarding the interpretation of the Plan; (f)
   to implement the provisions of the Plan and enter orders in aid of confirmation; (g) to adjudicate any and
   all adversary proceedings and contested matters pending or hereafter commenced in this Chapter 11
   case; (h) to enter a final decree closing this Chapter 11 case; for such other matters as may be set forth in
   the Confirmation Order; (i) to determine the nature and extent of Debtor’s ownership, or rights in
   property held by the Debtor as of the Petition Date, including but not limited to actions to quiet title; and
   (j) reopen the case for the limited purpose of granting Debtor a discharge under 11 U.S.C. §1141 upon
   completion of the Plan payments.

               Dated February 18, 2022

                                                 MOTSCHENBACHER & BLATTNER LLP

                                                 /s/ Nicholas J. Henderson
                                                 Nicholas J. Henderson, OSB No. 074027
                                                 Attorney for the Debtor In Possession




Page 10 of 10        DEBTOR’S FIRST AMENDED PLAN OF                                   Motschenbacher & Blattner LLP
                                                                                      117 SW Taylor Street, Suite 300
{00501722:6}         REORGANIZATION (DATED FEBRUARY 18, 2022)                             Portland, Oregon 97204
                                                                                           Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com


                               Case 21-31142-dwh11        Doc 95     Filed 02/18/22
In re: Edward A. Ariniello Jr.
Case No. 21‐31142‐dwh11

                                                                        Exhibit 1 - Ariniello Liquidation Analysis           attached           dkt. ___
                                                                                                                                19
1. Total from bankruptcy Schedule A:                $    800,000.00    A/B.28. Tax Refunds                               $           -
Less: Anticipated Cost of Sale                      $    (64,000.00)   A/B.29. Family Support                            $           -
Less: Mortgage (Non-Filing Spouse)                  $   (510,000.00)   A/B.30. Amounts Owed to You                       $           -
Less: Spouse's 50% Interest:                        $   (113,000.00)   A/B.31. Insurance Policies (Cash Value)           $           -
                                                                       A/B.32. Inheritance Interests                     $           -
                                                    $          -       A/B.33. Claims Against Third-Parties              $           -
            2.Adjusted total, Schedule A property   $   113,000.00     A/B.34. Other Claims                              $           -
3. Total from bankruptcy Schedule B                 $          -       A/B.35. Other Financial Assets (specify):         $           -     Notes on valuation: Subject to any court order
A/B.3. Vehicles                                     $     6,910.50     A/B.53. Other Property of Any Kind (specify):     $           -     or attached continuation sheet:
A/B.4. Camping Trailer and Boat                     $     3,500.00           Horses, Supplies                            $        350.00   (1) Real estate valuation assumes 8% costs of
A/B.6. Household goods and furnishings              $     2,662.50           Grape Vines                                 $      1,250.00   sale.
A/B.7. Electronics                                  $     1,000.00           Farm Equipment                              $      1,000.00   (2) Amount of unsecured debt assumes sale of
A/B.8. Collectibles                                 $          -                     4.Adjusted total, Sch. B property   $     29,923.00   practice closes and partially pays down debt.
A/B.9. Equipment for Sports/Hobbies                 $     2,500.00     5. Other (e.g., avoidance actions-itemize)        $           -
A/B.10. Firearms                                    $     2,500.00     6. Total Assets (ln.2+4+5)                        $    142,923.00
A/B.11. Clothes                                     $     2,000.00     7. Claims Senior to General Unsecured Claims                              Hypothetical chapter 7 trustee fees
A/B.12. Jewelry                                     $     1,000.00     7a. Secured claims (after bifurcation)            $           -     $     142,923.00 Total disbursements
A/B.13. Non-farm Animals                            $          -       7b. Chapter 7: trustee fees (from sidebar)        $      7,673.65   $     (54,450.00) Minus exemptions
A/B.14. Other Personal and Household Items          $          -       7c. Chapter 7: other costs of administration      $           -     $            -     Minus adjustments*
A/B.16. Cash                                        $       250.00     7d. Chapter 11: unpaid professionals' fees        $     25,000.00   $      88,473.00 = Net disbursements
A/B.17. Checking and Savings Accounts               $          -       7e. Chapter 11: other administrative costs        $           -                  § 326 calculations
A/B.18. Ameritrade Account                          $           -      7f. Priority claims (bankruptcy Schedule E)       $     97,714.43 $          5,000.00 X 25%= $            1,250.00
A/B.19. Closely Held Business Interests             $           -      7g. Debtor's exemptions (bankr. Sch.C)         $         54,450.00 $         45,000.00 X 10%= $           4,500.00
A/B.20. Gov. and Corp. Bonds                        $           -      7h. Other/adjustments (See Notes on valuation) $               -    $        38,473.00 X 5%= $            1,923.65
A/B.21. Retirement Accounts                         $      5,000.00    8. Total Senior Claims (ln. 7a to 7h)          $        184,838.08 $                 -    X 3%= $              -
A/B.22. Security Deposits                           $           -      9. Net available for unsecured (ln.6-ln.8)     $               -    $        88,473.00 Totals $           7,673.65
A/B.23. Annuities                                   $           -      10a.Gen. unsecured claims from schedule F      $      2,837,879.10            Adjustment (if any) $            -
A/B.24. Tuition Programs, Education IRAs            $           -      10b.Other gen. unsecured claims (if any)       $               -                       Trustee Fee $      7,673.65
A/B.25. Trusts                                      $           -      11.Total gen. unsecured (ln.10a+10b)           $      2,837,879.10 *Adjustments would include, e.g., estimated
A/B.26. Patents, copyrights, other IP               $           -      12. Ch. 7 Estimated Dividend (ln.9/ln.11)                     None refunds, and non-estate funds/ assets returned
A/B.27. Licenses, Franchises, Other Intang.         $           -      13. Plan Dividend (Classes 5 and 7)            $         15,147.96 to third parties.




                                                         Case 21-31142-dwh11                     Doc 95         Filed 02/18/22
In re: Edward A. Ariniello, Jr.
Bankr. Case No. 21-31142-dwh11


                                                          EXHIBIT 2
                                                    FINANCIAL PROJECTIONS

                            4/1/22 – 3/31/23   4/1/23 – 3/31/24   4/1/24 – 3/31/25      4/1/25 – 3/31/26   4/1/26 – 3/31/27     Totals
1) Projected Household
                               $152,740           $160,379           $168,400              $176,000           $185,000        $843,328
   Gross Income
2) Projected Household
                               ($40,060)          ($42,065)          ($43,000)             ($43,500)          ($44,000)       ($212,625)
   Tax Withholding
3) Projected Insurance
                                ($1,575)          ($1,675)           ($1,775)              ($1,864)           ($1,957)         ($8,846)
   Costs
4) Projected Retirement
                                ($4,850)          ($5,000)           ($5,200)              ($5,460)           ($5,733)        ($26,243)
   Contributions
5) Domestic Support
   Obligations                 ($10,650)          ($10,650)          ($10,650)             ($10,650)          ($10,650)       ($53,250)

6) Projected Net Income
                                $95,605           $100,990           $106,600              $115,342           $122,660        $542,368
7) Projected Household
                               ($92,485)          ($96,190)         ($100,000)            ($105,000)         ($110,250)       ($503,925)
   Expenses
8) Projected “Net
                                $3,120             $4,800             $7,771                $10,342            $12,410         $38,443
   Disposable Income”

NOTES / ASSUMPTIONS:

1) All figures are annual figures.

2) The 2021 to 2022 figures are based on the Debtor’s Amended Schedules I & J [ECF No. 29], which are attached.

3) The figures for 2023-2027, were projected by estimating approximately 5% growth year-over-year for income, and approximately
   4% inflation year-over-year for projected household expenses. The projections also include estimated increases for insurance
   premiums, but payroll tax withholdings that level off in 2024.




{00503857:1}


                                           Case 21-31142-dwh11        Doc 95         Filed 02/18/22
